             I N T H E DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:11 CR 36-5


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
BRITTNEY LYNN MOORE.                   )
                                       )
______________________________________ )

      THIS CAUSE came on to be heard and was heard before the undersigned on

November 3, 2011, pursuant to an Order (#119) entered by the court releasing

defendant on terms and conditions of presentence release, pursuant to 18 U.S.C. §

3145(c).   In the Order filed by the undersigned on September 20, 2011, the

undersigned found that there were exceptional reasons that merited the release of

defendant; that being, the defendant had become the mother of a child less than two

weeks prior to the incarceration of defendant. At the hearing, which occurred on

September 12, 2011, the undersigned set the matter on for further review for

November 3, 2011.

      At the hearing on November 3, 2011, counsel for defendant, that being Fredilyn

Sison, presented without objection, medical records of defendant and also the minor

child born of defendant. The records of the minor child show that the child has been

treated on two occasions since September 12, 2011 for diarrhea and also vomiting and

nausea.    The defendant continues to care for the child and is of the opinion the



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continued care for the child is necessary over the next several weeks.

      Defendant’s counsel also presented copies of medical records that show that

defendant is scheduled for oral surgery in which twelve of defendant’s 36 teeth are to

be removed and cavities in eight other teeth are to be repaired. The dental surgery of

defendant is scheduled to occur during the next several weeks.

      After reviewing the medial records, the undersigned is of the opinion that the

above evidence shows there still exists such exceptional circumstances that merit the

continued release of defendant and defendant will be continued on terms and

conditions of presentence release in this matter.



                                      ORDER

      IT IS, THEREFORE, ORDERED, that defendant is continued to be released

on terms and conditions of presentence release. This matter is set for further hearings

for January 3, 2012 to determine whether or not defendant should continue to be

released on terms and conditions of presentence release.


                                          Signed: November 9, 2011




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